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                                             8                  UNITED STATES DISTRICT COURT
                                             9                CENTRAL DISTRICT OF CALIFORNIA
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                                             10
                                                   DAVID LILLIE,                            CASE NO. 2:17-CV-2538
                                             11
                                             12                                Plaintiff.
                                                                                            COMPLAINT FOR
            Pasadena, California




                                             13                     vs.                     DAMAGES / DEMAND FOR
                                                                                            JURY
                                             14
                                             15
                                                   MANTECH INT’L. CORP., a
                                             16    Delaware Corporation, and
                                                   DOES 1-20,
                                             17
                                             18                              Defendants.
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                                                              COMPLAINT FOR DAMAGES / DEMAND FOR JURY
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